         Case 1:20-cv-00237-KK-SCY Document 174 Filed 06/21/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,

                Plaintiff,

v.                                                         Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
Corporation; VINCE KADLUBEK,
An individual and officer; and
DOES 1-50,

                Defendants.

          ORDER EXTENDING DEADLINE TO FILE JOINT STATUS REPORT
         THIS MATTER having come before the Court upon the parties Joint Motion to Extend

Deadline to File Joint Status Report. Doc. 172. This Court having considered the Motion and

being otherwise fully advised in the premises and for good cause shown, FINDS that it is well

taken.

         IT IS HEREBY ORDERED that the new deadline for the parties to file their Joint Status

Report is June 22, 2021.

Dated: June 21, 2021




                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge
      Case 1:20-cv-00237-KK-SCY Document 174 Filed 06/21/21 Page 2 of 2




                                                    Respectfully submitted,

                                                    BARDACKE ALLISON LLP

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Approved by:

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By:   /s/ Jesse A. Boyd
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